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 1
 2                         UNITED STATES DISTRICT COURT
 3                      FOR THE DISTRICT OF WASHINGTON
 4
 5 UNITED STATES OF AMERICA,                     No. 2:13-CR-008-WFN-11

 6                      Plaintiff,               ORDER DENYING UNITED
 7                                               STATES’ MOTION TO
     vs.                                         RECONSIDER
 8
 9 BRANDON LEIGH CHAVEZ,
10
                        Defendant.
11
12         Before the Court is the United States’ Motion to modify this Court’s
13   furlough Order, noted without oral argument for December 23, 2014, at 6:30 p.m.
14   before Senior Judge Nielsen. It has come to the Court’s attention that the United
15   States should have noted the Motion before the undersigned. There is no motion to
16   expedite, and the Motion does not state the Defendant’s position.
17         In moving this Court to modify its Order granting Defendant a furlough
18   from post-conviction and pre-sentence detention in order to receive medical
19   attention, ECF No. 3242, the United States objects to both the Order describing the
20   United States as having “no objection,” and to what may be viewed as
21   unnecessarily expansive time limits, encompassing part of Christmas Day, within
22   which Defendant is to keep his medical appointment and return to custody.
23         While the Court understood that for purposes of the Motion and Order in
24   question “the government defers to the Court and probation so long as this request
25   is consistent with the Court’s Order,” ECF No. 3241 at 2, and while this Court
26   intends as set forth below that the Order objected to is consistent with previous
27   furlough orders; the Court nevertheless ORDERS that the record reflect that the
28   United States OBJECTS to the Order entered at ECF No. 3242.



     ORDER - 1
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 1         The Court acknowledges that the time limits requested for the furlough may
 2   appear liberal. Nevertheless, this Court chooses to regard the requested time
 3   frame, not as a sub silentio effort to cadge a Christmas furlough at the risk of
 4   affecting credibility and future furloughs, but as an acknowledgement of the
 5   realities of wintertime travel over a mountain pass, and of the impracticality of
 6   convening the Court and counsel for emergency motions and modifications in the
 7   event of an unforeseeable happenstance on Christmas Eve.
 8         Because the Court construes the objected-to order as being consistent with
 9   previous medical furloughs, and as permitting a temporary release, only for the
10   period necessary to keep an appointment with a medical provider, including the
11   time realistically necessary to travel to and from such appointment under present
12   conditions, the United States’ Motion to Modify, ECF No. 3250, the Court’s
13   Order, ECF No. 3242, is DENIED.
14         IT IS ORDERED.
15         DATED December 24, 2014.
16
                                _____________________________________
17                                        JOHN T. RODGERS
18                               UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
